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                     IN THE UNITED STATES DISTRICT COIIRT
                     FOR THE MIDDLE DISTRICT OF ALABRilttv*
                              NORTHERN DIVISION
                                                                              OVED
TAMBERLY THOMAS WHITE,                     )                         ¿OH JAN -8 P 2: 32
                                           )                         DEBRA P. HACKETT. CI.K
       Plaintiff,                          )                  At.,      S. DISTRICT COJRT
                                           )      Case No.0,                 t;Iticr—ALASR,W
v.                                         )
                                           )
MONTGOMERY COUNTY                          )
COMMISSION,                                )
                                           )
       Defendant.                          )

                                  NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Montgomery County

Commission hereby gives notice of removal of this action from the Circuit Court of Montgomery

County, Alabama to the United States District Court for the Middle District of Alabama,

Northern Division. As grounds, Defendant states as follows:

                                 Commencement of the Case

       This action was commenced on December 3, 2019, with the filing of the Summons and

Complaint in Civil Action No. CV-2019-000582 in the Circuit of Montgomery County,

Alabama. A copy of the Complaint is attached (along with all other state court pleadings,

motions, order and other papers) as Exhibit A.

       Defendant Montgomery County Commission was served with a copy of the Summons

and Complaint on December 19, 2019. (Exhibit A,Doc.# 7)

                                   Jurisdictional Statement

       This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331. Plaintiff, a

former employee of the Defendant, asserts that she is black female who was treated differently

than white employees by her employer. (Exhibit A, Complaint) Plaintiff also claims that she
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suffered retaliation after requesting time off from work. (Id.) Plaintiff also claims that she filed

a complaint about unfair treatment and that an employee violated the whistleblower laws by

telling her supervisor about the investigation. (Id) Plaintiff further claims that her requests to

leave early or take a late lunch for orthodontic appoints were denied. (Id.) She claims that due

to unfair treatment, she resigned from her employment. (Id.) Plaintiffs claims allege racial

discrimination, retaliation and constructive discharge in violation of Title VII of the Civil Rights

Act of 1991, as amended.

                                     Timeliness of Removal

       This action has been timely removed, having been removed within 30 days of the service

of the Complaint filed by Plaintiff. 28 U.S.C. § 1446(b).

                 Removal to Middle District of Alabama, Northern Division

       Pursuant to 28 U.S.C. § 1441(a), this action is being removed to this Court, which

embraces the place where the action is pending in state court.

                      Attachment of State Court Pleadings and Records

       Pursuant to 28 U.S.C. § 1446(a), clear and legible copies of all process, pleadings, •

motions, orders, proceedings, and other papers filed in the Circuit Court of Montgomery County,

Alabama, and served on Defendants in this action are attached at Exhibit A.

                                        Notice to State Court

       Contemporaneously with the filing of this notice of removal in this Court, and in

accordance with 28 U.S.C. § 1446(d), written notice of removal is being filed with the Clerk of

the Circuit Court of Montgomery County, Alabama, and is being served on Plaintiff. A copy of

same is attached hereto as Exhibit B.



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                                 No Admission by Defendant

       No admission of fact, law, or liability is intended by this Notice of Removal, and all

defenses, motions, and pleas are expressly reserved.

                                            Conclusion

       For the foregoing reasons, Defendant is entitled to have this cause removed from the

Circuit Court of Montgomery County, Alabama to the United States District Court for the

Middle District of Alabama, Northern Division.

         Respectfully submitted, this the      day of January, 2020.



                                                          ug,
                                             Thomas T. Gallion, III(ASB-5295-L74T)
                                             Constance C. Walker(ASB-5510-L66C)
                                             Attorneys for the Defendant
                                             Montgomery County Commission

OF COUNSEL:

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                              CERTIFICATE OF SERVICE

                                      4
       I hereby certify that on this the    day of January, 2020, a copy of the foregoing was
served upon the Plaintiff by placing a copy of the same in the United States mail, postage
prepaid, and properly addressed as follows:

Tamberly Thomas White
528 Ferndale Court
Montgomery, Alabama 36110




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